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lN THE uNlTED STATES DlSTRlcT COURT
FOR THE DlSTRlcT OF DELAWARE
JAMES N_ MCCARDELL,
Plaintiff,
v. § civil Action No. 17-1121-RGA
ADR\AN HAREWOOD, et at., l

Defendants.

 

James N. |\/|cCarde||, James T. Vaughn Correctiona| Center, Smyrna, De|aware.
Pro Se Plaintiff.

MEMORAND_L_.|N| OPlNlON

October % , 2017
Wi|mington, De|avvare

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A REWS, .@.{ istrlctJudge:

P|aintiff James N. l\/lcCarde||, an inmate at the James T. Vaughn Correctional
Center in Smyrna, De|aware, filed this action pursuant to 42 U.S.C. § ‘1983.1 (D.|. ‘l).
P|aintiff filed an amended complaint on October 23, 2017, and it is the operative
pleading (D.|. 8). He also filed a motion for injunctive relief. (D.|. 9). P|aintiff appears
pro se and has been granted leave to proceed in forma pauperis (D.l. 6). The Court
proceeds to review and screen the amended complaint pursuant to 28 U.S.C.

§ 1915(e)(2) and § 1915A(a).
BACKGROUND

On December 15, 2015, Plaintiff was shot and sustained injuries that require him
to use a colostomy bag and a suprapubic catheter. P|aintiff alleges Defendants
De|aware Department of Correction2 and Connections Community Suppo¢t Programs,
lnc. have a regular practice of Withho|ding necessary medical care. He alleges he must
constantly “fight" With Defendants to receive any type of medical treatment

P|aintiff has not seen a “Gl” physician or urologist in over a year and suffers from
constant urinary tract infections which result in the frequent administration of antibiotics

P|aintiff alleges the use of antibiotics is harming his kidneys, and he is developing an

 

1 When bringing a § 1983 claim, a plaintiff must allege that some person has deprived
him of a federal right, and the person who caused the deprivation acted under color of
state law. West v. Atkins, 487 U.S. 42, 48 (1988).

2 Piaintiff describes the DOC as operating a facility that violates the Americans with
Disabi|ities Act, but alleges that Defendants violated his rights under 42 U.S.C. § 1983.
The allegations in the amended complaint do not remotely allege any violations of the
ADA. To the extent P|aintiff makes such a claim, it will be dismissed as frivolous

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immunity to the antibiotics Plaintiff alleges it has been determined that surgery is
required to correct his problems

Plaintiff is unable to digest numerous fruits and vegetables As a result he is
unable to consume the food served at the VCC and is constantly hungry. Plaintiff
alleges the medical and DC)C Defendants advised him they cannot order the type of
food he requires

Plaintiff was seen by a nurse practitioner on October12, 2017 who adjusted his
insulin and prescribed several medications Later that day, when Plaintiff was called to
the infirmary to see Defendant Dr. Adrian Harewood, he told Dr. Harewood he had seen
the nurse practitioner. Plaintiff alleges Dr. Harewood cancelled his medications and told
Plaintiff that he did not want to see him again. Plaintiff later learned that there was a
problem between Dr. Harewood and the nurse practitioner.

Named defendants include Dr. Harewood, DOC Commissioner Perry Phe|ps, the
DOC, Connections, Bureau Chief of the Bureau of Correctiona| Hea|thcare Services
lVlarc Richman, and VCC Deputy Warden Phi||ip Parker. Plaintiff alleges that
Defendants’ actions constitute deliberate indifference to his serious medical needs He
seeks injunctive relief, as well as compensatory and punitive damages He also asks
the Court to allow inmate Robert Saunders to provide him legal assistance until counsel
is secured. |n addition to the relief sought in the amended complaint, Plaintiff filed a
motion for injunctive relief for Defendants to provide him needed medical services and a

medical diet and to allow inmate Saunders to assist him in this case. (D.|. 9).

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SCREEN|NG OF COMPLA|NT

A federal court may properly dismiss an action sua sponte under the screening
provisions of 28 U.S.C. § 1915(e)(2)(B) and § 1915A(b) if “the action is frivolous or
malicious fails to state a claim upon which relief may be granted, or seeks monetary
relief from a defendant who is immune from such relief.” Ball v. Famiglio, 726 F.3d 448,
452 (3d Cir. 2013). See also 28 U.S.C. § 1915(e)(2) (in forma pauperis actions); 28
U.S.C. § 1915A (actions in which prisoner seeks redress from a governmental
defendant). The Court must accept all factual allegations in a complaint as true and
take them in the light most favorable to a pro se plaintiff Phil/ips v. County of
A/Iegheny, 515 F.3d 224, 229 (3d Cir. 2008); Erickson v. Pardus, 551 U.S. 89, 93
(2007). Because Plaintiff proceeds pro se, his pleading is liberally construed and his
complaint, “however inartfully pleaded, must be held to less stringent standards than
formal pleadings drafted by lawyers.” Erickson v. Pardus, 551 U.S. at 94 (citations
omitted).

An action is frivolous if it “lacks an arguable basis either in law or in fact."
Neitzke v. Wi/liams, 490 U.S. 319, 325 (1989). Under 28 U.S.C. § 1915(e)(2)(B)(i) and
§ 1915A(b)(1), a court may dismiss a complaint as frivolous if it is "based on an
indisputably meritless legal theory" or a “clearly baseless” or “fantastic or delusional”
factual scenario. Neitzke, 490 U.S. at 327-28; Wi/son v. Rackmi/l, 878 F.2d 772, 774
(3d Cir. 1989).

The legal standard for dismissing a complaint for failure to state a claim pursuant
to § 1915(e)(2)(B)(ii) and § 1915A(b)(1) is identical to the legal standard used When

ruling on Rule 12(b)(6) motions Tourscher v. McCu/lough, 184 F.3d 236, 240 (3d Cir.
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1999). However, before dismissing a complaint or claims for failure to state a claim
upon which relief may be granted pursuant to the screening provisions of 28 U.S.C.
§§1915 and 1915A, the Court must grant Plaintiff leave to amend his complaint unless
amendment would be inequitable or futile. See Grayson v. Mayview State Hosp., 293
`F.3d 103, 114 (3d Cir. 2002).

A well-pleaded complaint must contain more than mere labels and conclusions
See Ashcroft v. Iqbal, 556 U.S. 662 (2009); Bel/ Atl. Corp. v. Twomb/y, 550 U.S. 544
(2007). A plaintiff must plead facts sufhcient to show that a claim has substantive
plausibility. See Johnson v. City of Shelby, _U.S._, 135 S.Ct. 346, 347 (2014). A
complaint may not dismissed, however, for imperfect statements of the legal theory
supporting the claim asserted. See id. at 346.

A court reviewing the suchiency of a complaint must take three steps: (1) take
note of the elements the plaintiff must plead to state a claim; (2) identify allegations that,
because they are no more than conclusions are not entitled to the assumption of truth;
and (3) when there are well-pleaded factual allegations assume their veracity and then
determine whether they plausibly give rise to an entitlement to relief. Connelly v. Lane
Const. Corp., 809 F.3d 780,787 (3d Cir. 2016). Elements are sufficiently alleged when
the facts in the complaint “show” that the plaintiff is entitled to relief. Iqbal, 556 U.S. at
679 (quoting Fed. R. Civ. P. 8(a)(2)). Deciding Whether a claim is plausible will be a
“context-specit"lc task that requires the reviewing court to draw on its judicial experience

and common sense.” /d.

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D|SCUSS|ON
Eleventh Amendment

The DOC, an agency of the State of Delaware, is a named defendant Claims
against the State of Delaware are barred by its Eleventh Amendment immunity. See
MCl Telecom. Corp. v. BellAt/. of Pa., 271 F.3d 491, 503 (3d Cir. 2001). The Eleventh
Amendment of the United States Constitution protects an unconsenting state or state
agency from a suit brought in federal court by one of its own citizens regardless of the
relief sought. See Pennhurst State Sch. & Hosp. v. Halderman, 465 U.S. 89 (1984);
Edelman v. Jordan, 415 U.S. 651 (1974).

The State has not waived its immunity from suit in federal court and, although
Congress can abrogate a state’s sovereign immunity, it did not do so through the
enactment of 42 U.S.C. § 1983. Brooks-McCo/Ium v. Delaware, 213 F. App'x 92, 94 (3d
Cir. 2007). Plaintist claim against the DOC has no arguable basis in law or in fact and,
therefore, will be dismissed as the DOC is immune from suit pursuant to 28 U.S.C. §§
1915(e)(2)(B)(iii) and 1915A(b)(2).

Personal lnvo|vementhespondeat Superior

lt appears that Plaintiff has named Phe|ps, Richmanl and Parker as defendants
based upon their supervisory positions “A[n individual government] defendant in a civil
rights action must have personal involvement in the alleged wrongdoing; liability cannot
be predicated solely on the operation of respondeat superior. Personal involvement can
be shown through allegations of personal direction or of actual knowledge and

acquiescence." Rode v. Dellarciprete, 845 F.2d 1195, 1207 (3d Cir. 1988).

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lt is well established that claims based solely on the theory of respondeat
superior or supervisor liability are facially deficient See lqbal, 556 U.S. at 676-77; see
also Solan v. Ranck, 326 F. App'x 97, 100-01 (3d Cir. 2009) (holding “[a] defendant in a
civil rights action must have personal involvement in the alleged wrongs; liability cannot
be predicated solely on the operation of respondeat superior”). The amended complaint
does not allege any director personal involvement by Phe|ps, Richman, or Parker other

than to identify them as being responsible for matters due to their supervisory positions

ln addition, under the liberal notice pleading standard of Rule 8(a), Plaintist
claims fails to allege facts that, if proven, would show personal involvement by any of
the supervisory Defendants. A civil rights complaint is adequately pled where it states
the conduct, time, place, and persons responsible See Evancho v. Fisher, 423 F.3d
347, 353 (3d Cir. 2005). The claims against the foregoing Defendants lack an arguable
basis in law or in fact and will be dismissed as frivolous pursuant to 28 U.S.C. §§
1915(e)(2)(B)(i) and 191'5A(b)(1).
|nmate Assistance

Plaintiff asks the Court to allow inmate Saunders to assist him in this matter.
Plaintiff is advised that Saunders as a non-attorney, may not act as an attorney for
other individuals 28 U.S.C. § 1654; see also ln the Matter of Chojecki, 2000 WL
679000, at *2 (E.D. Pa. l\/lay 22, 2000) (citing United States v. Stepard, 876 F. Supp.
214, 215 (D. Ariz. 1994) ("Although a non-attomey may appear in propria persona on
his own behalf, that privilege is personal to him and he has no authority to appear as the

attorney for anyone other than himself.”).

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ln addition, Plaintist request would require the Court to inject itself in the
administration of the VCC. Prison administrators are accorded Wide-ranging deference
in the adoption and execution of policies and practices that are needed to preserve
internal order and to maintain institutional security. Be// v. Wolfrsh, 441 U.S. 520, 527
(1979). The federal courts are not overseers of the day-to-day management of prisons
and the Court will not interfere in the VCC determination whether or not to allow
Saunders to assist Plaintiff. Accordingly, the Court will deny that portion of Plaintist
motion for injunctive relief that seeks Saunders’ assistance (D.|. 9).
Motion for lnjunctive Re|ief

Plaintifl"s motion for injunctive relief also seeks medical care and a medical diet.
(D.|. 9). The Court will order the remaining Defendants and the VCC warden to respond
to the motion.

CONCLUS|ON

For the above reasons the Court will dismiss all claims against Perry Phe|ps, the
Delaware Department of Correction, l\/larc Richman, and Phi||ip Parker as frivolous and
based upon immunity from suit pursuant to U.S.C. § 1915(e)(2)(B)(i) and (iii) and
§ 1915A(b)(1) and (2). Plaintiff Wi|l be allowed to proceed With the medical needs
claims raised against Dr. Adrian Harewood and Connections Community Support
Programs, lnc. Plaintist request for inmate assistance will be denied and the
remaining Defendants and the VCC warden will be ordered to respond to Plaintiff’s
motion for injunctive relief for medical care and a medical diet. (See D.l. 9).

An appropriate order will be entered.

